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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PRINZO & ASSOCIATES LLC v.
IBERIABANK CORP. et al,
                                                      20cv0904
                Plaintiffs,                           ELECTRONICALLY FILED

                        v.

IBERIABANK CORP. and DOES 1-100
inclusive,

                Defendants.


                                            ORDER

       Given that motions pursuant to Federal Rule of Civil Procedure 12(b) are discouraged if

the pleading defect is curable by amendment, IT HEREBY IS ORDERED that the parties must

meet in person and confer prior to the filing of such a motion to determine whether it can be

avoided. The duty to meet in person and confer extends to parties appearing pro se. Consistent

with the foregoing, motions to dismiss must be accompanied by a certificate of the movant,

stating that the moving party has made good faith efforts to meet and confer with the

nonmovant(s) to determine whether the identified pleading deficiencies properly may be cured

by amendment.

       Motions to dismiss that do not contain the required certification will be summarily

denied. Furthermore, a non-moving party’s non-compliance with this Order, including

a failure to timely engage in the meet-and-confer process, may result in the assessment of

monetary and/or nonmonetary sanctions. Those sanctions may include, but are not limited

to, an assessment of attorney(s)’ fees and costs associated with the filing of the motion to

dismiss; and/or a denial of the non-movant’s subsequent request for leave to amend.
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       In addition, the parties shall endeavor not to oppose motions to amend the pleadings that

are filed prior to the initial Case Management Conference, or within the time set forth in the

parties’ Rule 26(f) Report and/or the Court’s Rule 16 Case Management Order.

       Finally, IT IS ORDERED that: (1) as soon as is practicable, Plaintiff(s) promptly shall

serve a copy of this Order upon Defendant(s); (2) all counsel and unrepresented parties must

read, know and understand the Local Rules of this Court (see web page at:

http://www.pawd.uscourts.gov/court-info/local-rules-and-orders/local-rules); and (3) all counsel

and unrepresented parties must familiarize themselves with the undersigned’s Practices and

Procedures (see web page at http://www.pawd.uscourts.gov/content/arthur-j-schwab-senior-

district-judge), and they will be held responsible for complying with the same.

       IT IS SO ORDERED.



                                      SO ORDERED, this 19th day of June, 2020.

                                      s/ Arthur J. Schwab
                                      Arthur J. Schwab
                                      United States District Court Judge

cc: All ECF Counsel of Record




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